














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






PD NO. 1275-07





	RAUL ONTIVEROS , Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRD COURT OF APPEALS


TRAVIS COUNTY


		


	Per curiam.  Keasler and Hervey, JJ., dissent. 


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i),
because It does not contain a complete copy of the opinion of the court of appeals.  The
petition for discretionary review also violates Rule of Appellate Procedure 68.5, because the
grounds and reasons for review are longer than 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the Court
of Criminal Appeals of Texas within thirty (30) days after the date of this order.


En banc.

Delivered    January 16, 2008

Do Not Publish.


